Case 3:22-cv-00049-NKM-JCH Document 198 Filed 04/03/23 Page 1 of 4 Pageid#: 2408




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                      CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE; AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE     :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


                  PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

          Defendants filed various motions to dismiss this matter, see ECF Nos. 85, 86, 88, 90-92, with

  several arguing that the validity of the state court adoption order previously granted to Defendants

  Joshua Mast and Stephanie Mast for Baby Doe somehow was dispositive of this case. See, e.g.,

  Joshua and Stephanie Mast’s Memorandum in Support of Their Motion to Dismiss (ECF No. 86) at

  12 (arguing that “all of [Plaintiffs’] causes of action, and all 12 declarations they seek, are premised


                                                      1
Case 3:22-cv-00049-NKM-JCH Document 198 Filed 04/03/23 Page 2 of 4 Pageid#: 2409




  on the theory that the Adoption Order is invalid . . . .”); id. at 14 (“While the Does ostensibly bring

  tort claims for damages, each claim is premised on the alleged invalidity of the Virginia Adoption

  Order”); Richard Mast’s Motion to Dismiss (ECF No. 88) at 23 (arguing that “Defendant Joshua

  Mast has a valid final Virginia adoption order”). Plaintiffs have disagreed with both the assertions

  that the adoption order was valid and that the order’s validity was dispositive of any claims in this

  proceeding.

          Regardless, Plaintiffs now inform the Court that the Fluvanna County Circuit Court recently

  vacated the final adoption order, finding it void ab initio. At a hearing on Thursday, March 30,

  2023, the court vacated the final adoption order, finding (in part) that John Doe and Jane Doe were

  deprived of due process and that the order was procured through extrinsic fraud. The court asked the

  parties to submit a draft order to this effect for the court’s consideration and stated that it plans to

  stay the order pending appeal. Plaintiffs will provide this Court with the final order once it issues.



  Dated: April 3, 2023                     Respectfully submitted,


                                           /s/ Maya Eckstein
                                           Maya M. Eckstein (VSB No. 41413)
                                           Lewis F. Powell III (VSB No. 18266)
                                           HUNTON ANDREWS KURTH LLP
                                           951 E Byrd St
                                           Richmond, VA 23219
                                           Telephone: (804) 788-8200
                                           Fax: (804) 788-8218
                                           Email: meckstein@HuntonAK.com
                                           Email: lpowell@HuntonAK.com




                                                       2
Case 3:22-cv-00049-NKM-JCH Document 198 Filed 04/03/23 Page 3 of 4 Pageid#: 2410




                               Jeremy C. King (admitted pro hac vice)
                               HUNTON ANDREWS KURTH LLP
                               200 Park Avenue
                               New York, NY 10166
                               Telephone: (212) 309-1000
                               Fax: (212) 309-1100
                               Email: jking@HuntonAK.com

                               Sehla Ashai (admitted pro hac vice)
                               ELBIALLY LAW, PLLC
                               704 East 15th Street
                               Suite 204
                               Plano, TX 75074
                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary L. Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americas
                               New York, New York 10020
                               Telephone: (212) 906-1200
                               Facsimile: (212) 751-4864
                               Email: Blair.Connelly@lw.com
                               Email: Zachary.Rowen@lw.com

                               Ehson Kashfipour (admitted pro hac vice)
                               Damon R. Porter (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, N.W. Suite 1000
                               Washington, D.C. 20004
                               Telephone: (202) 637-2200
                               Facsimile: (202) 637-2201
                               Email: Ehson.Kashfipour@lw.com
                               Email: Damon.Porter@lw.com


                               Attorneys for Plaintiffs




                                          3
Case 3:22-cv-00049-NKM-JCH Document 198 Filed 04/03/23 Page 4 of 4 Pageid#: 2411




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 3rd day of April, 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

                                                        By:    /s/ Maya M. Eckstein
                                                               Maya M. Eckstein (VSB # 41413)
                                                               Hunton Andrews Kurth LLP
                                                               Riverfront Plaza, East Tower
                                                               951 East Byrd Street
                                                               Richmond, Virginia 23219-4074
                                                               Telephone: (804) 788-8200
                                                               Facsimile: (804) 788-8218
                                                               meckstein@HuntonAK.com

                                                               Counsel for Plaintiffs




                                                   4
